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ATTN: USDSNY Court
       Pro Se Office (Room 200)
       500 Pearl St
       NY NY 10007
Date: 12/2/2020
RE: REQUEST FOR APPEALS PACKET- case 20CV7102
As of 12/2/2020 Plaintiff was given notice that the 20cv7102 case was closed and she (CHARLENE
LATHAM) would need to request an appeals packet to obtain a copy of the Order dismissing the case.
No information was given regarding the nature of the dismissal.
Plaintiff requested permission to submit documents and receive email communication for this matter at the time
of filing the case. No notice of the Pandemic measures allowing email submissions from pro se filers was
provided or made known despite Plaintiff asking for such information or permission from the court prior to
filing.


This is formal request for Appeals packet including the Order dismissing the case and the attached consent form
granting consent to electronic service.


Signed in the County of Dallas, in the State of Texas 12/2/2020 2:25pm

                                                                                      Submitted respectfully,

                                                                                        Charlene Y. Latham
                                                                                  Charlene272@hotmail.com
                                                                                            1+469.751.5068
                                                                                      4900 Airport Parkway
                                                                                          Addison TX 75001
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